Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 1 of 45 PageID #: 8605



                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 INTELLECTUAL VENTURES I LLC,                  §
                                               §
                Plaintiff,                     §
                                               §
 v.                                            § CASE NO. 2:17-CV-577-JRG
                                               §
 T MOBILE USA, INC., T-MOBILE US,              §
 INC., ERICSSON INC.,                          §
 TELEFONAKTIEBOLAGET LM                        §
 ERICSSON,                                     §
                                               §
                Defendants.                    §

                                CLAIM CONSTRUCTION
                               MEMORANDUM AND ORDER

       Before the Court is the Opening Claim Construction Brief (Dkt. No. 165) filed by Plaintiff

Intellectual Ventures I, LLC (“Plaintiff” or “IV”). Also before the Court are Defendants T-Mobile

USA, Inc., T-Mobile US, Inc. (“T-Mobile”), Ericsson Inc., and Telefonaktiebolaget LM Ericsson’s

(“Ericsson’s”) (collectively, “Defendants’”) Responsive Claim Construction Brief (Dkt. No. 118)

and Plaintiff’s reply (Dkt. No. 126).
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 2 of 45 PageID #: 8606



                                                           Table of Contents


I. BACKGROUND ....................................................................................................................... 1 
II. LEGAL PRINCIPLES ........................................................................................................... 1 
III. AGREED TERMS................................................................................................................. 6 
IV. DISPUTED TERMS .............................................................................................................. 6 
   A. “in an isochronous manner” .................................................................................................. 6 
   B. “periodic variation” ............................................................................................................... 9 
   C. “host workstation” ............................................................................................................... 12 
   D. “to optimize end-user quality of service (QoS) for an Internet Protocol (IP) flow,”
       “so as to optimize end-user quality of service (QoS) associated with said IP flow,”
       and “so as to optimize end-user internet protocol (IP) quality of service (QoS)” .............. 15 
   E. “assigning means for assigning future slots of a transmission frame to a portion of
       said IP flow in said transmission frame for transmission over said shared wireless
       network”.............................................................................................................................. 23 
   F. “means for applying an advanced reservation algorithm”................................................... 26 
   G. “means for reserving a first slot for a first data packet of an Internet Protocol (IP)
       flow in a future transmission frame based on said algorithm” ........................................... 29 
   H. “means for reserving a second slot for a second data packet of said IP flow in a
       transmission frame subsequent in time to said future transmission frame based on
       said algorithm” .................................................................................................................... 31 
   I. “means for taking into account service level agreement (SLA) based priorities for said
       IP flow” ............................................................................................................................... 33 
   J. “the analyzed contents” and “the analyzed packet contents” ............................................... 35 
   K. “allocating the shared wireless bandwidth between the wireless base station
       transmitting in the downlink direction and the at least one CPE station transmitting
       in the uplink direction” and “allocate wireless bandwidth between the uplink
       direction and the downlink direction responsive to the analyzed packet contents and
       the analyzed reservation requests” ...................................................................................... 38 
   L. “said plurality of packets” ................................................................................................... 40 
V. CONCLUSION...................................................................................................................... 42 
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 3 of 45 PageID #: 8607




I. BACKGROUND

       On August 9, 2017, Plaintiff brought suit alleging infringement of United States Patents

No. 6,628,629 (“the ’629 Patent”), 7,359,971 (“the ’971 Patent”), 7,412,517 (“the ’517 Patent”),

and RE46,206 (“the ’206 Patent”) (collectively, “the patents-in-suit”). (See Dkt. No. 1.)

       The ’629 Patent, titled “Reservation Based Prioritization Method for Wireless

Transmission of Latency and Jitter Sensitive IP-Flows in a Wireless Point to Multi-Point

Transmission System” and issued on September 30, 2003, bears the earliest priority date of

July 10, 1998. The Abstract of the ’629 Patent states:

       A wireless telecommunications network having superior quality of service is
       provided. A system and method for assigning future slots of a transmission frame
       to a data packet in the transmission frame for transmission over a wireless
       telecommunication network system includes applying an advanced reservation
       algorithm, reserving a first slot for a first data packet of an internet protocol (IP)
       flow in a future transmission frame based on the algorithm, reserving a second slot
       for a second data packet of the IP flow in a transmission frame subsequent in time
       to the future transmission frame based on the algorithm, wherein the second data
       packet is placed in the second slot in an isochronous manner to the placement of
       the first data packet in the first slot. There may be a periodic variation between the
       placement of the first data packet in the first slot and the placement of second data
       packet in the second slot or no periodic variation between placements of slots. The
       advanced reservation algorithm makes a determination whether the IP flow is jitter-
       sensitive.

       The parties submit that the patents-in-suit all share a common specification. (See Dkt. No.

118 at 2.)

II. LEGAL PRINCIPLES

       It is understood that “[a] claim in a patent provides the metes and bounds of the right which

the patent confers on the patentee to exclude others from making, using or selling the protected

invention.” Burke, Inc. v. Bruno Indep. Living Aids, Inc., 183 F.3d 1334, 1340 (Fed. Cir. 1999).

Claim construction is clearly an issue of law for the court to decide. Markman v. Westview

Instruments, Inc., 52 F.3d 967, 970–71 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996).

                                                 1
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 4 of 45 PageID #: 8608



       “In some cases, however, the district court will need to look beyond the patent’s intrinsic

evidence and to consult extrinsic evidence in order to understand, for example, the background

science or the meaning of a term in the relevant art during the relevant time period.” Teva Pharms.

USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015) (citation omitted). “In cases where those

subsidiary facts are in dispute, courts will need to make subsidiary factual findings about that

extrinsic evidence. These are the ‘evidentiary underpinnings’ of claim construction that we

discussed in Markman, and this subsidiary factfinding must be reviewed for clear error on appeal.”

Id. (citing 517 U.S. 370).

       To ascertain the meaning of claims, courts look to three primary sources: the claims, the

specification, and the prosecution history. Markman, 52 F.3d at 979. The specification must

contain a written description of the invention that enables one of ordinary skill in the art to make

and use the invention. Id. A patent’s claims must be read in view of the specification, of which

they are a part. Id. For claim construction purposes, the description may act as a sort of dictionary,

which explains the invention and may define terms used in the claims. Id. “One purpose for

examining the specification is to determine if the patentee has limited the scope of the claims.”

Watts v. XL Sys., Inc., 232 F.3d 877, 882 (Fed. Cir. 2000).

       Nonetheless, it is the function of the claims, not the specification, to set forth the limits of

the patentee’s invention. Otherwise, there would be no need for claims. SRI Int’l v. Matsushita

Elec. Corp., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (en banc). The patentee is free to be his own

lexicographer, but any special definition given to a word must be clearly set forth in the

specification. Intellicall, Inc. v. Phonometrics, Inc., 952 F.2d 1384, 1388 (Fed. Cir. 1992).

Although the specification may indicate that certain embodiments are preferred, particular

embodiments appearing in the specification will not be read into the claims when the claim



                                                  2
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 5 of 45 PageID #: 8609



language is broader than the embodiments. Electro Med. Sys., S.A. v. Cooper Life Sciences, Inc.,

34 F.3d 1048, 1054 (Fed. Cir. 1994).

       This Court’s claim construction analysis is substantially guided by the Federal Circuit’s

decision in Phillips v. AWH Corporation, 415 F.3d 1303 (Fed. Cir. 2005) (en banc). In Phillips,

the court set forth several guideposts that courts should follow when construing claims. In

particular, the court reiterated that “the claims of a patent define the invention to which the patentee

is entitled the right to exclude.” Id. at 1312 (quoting Innova/Pure Water, Inc. v. Safari Water

Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). To that end, the words used in a claim

are generally given their ordinary and customary meaning. Id. The ordinary and customary

meaning of a claim term “is the meaning that the term would have to a person of ordinary skill in

the art in question at the time of the invention, i.e., as of the effective filing date of the patent

application.” Id. at 1313. This principle of patent law flows naturally from the recognition that

inventors are usually persons who are skilled in the field of the invention and that patents are

addressed to, and intended to be read by, others skilled in the particular art. Id.

       Despite the importance of claim terms, Phillips made clear that “the person of ordinary

skill in the art is deemed to read the claim term not only in the context of the particular claim in

which the disputed term appears, but in the context of the entire patent, including the

specification.” Id. Although the claims themselves may provide guidance as to the meaning of

particular terms, those terms are part of “a fully integrated written instrument.” Id. at 1315

(quoting Markman, 52 F.3d at 978). Thus, the Phillips court emphasized the specification as being

the primary basis for construing the claims. Id. at 1314–17. As the Supreme Court stated long

ago, “in case of doubt or ambiguity it is proper in all cases to refer back to the descriptive portions

of the specification to aid in solving the doubt or in ascertaining the true intent and meaning of the



                                                   3
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 6 of 45 PageID #: 8610



language employed in the claims.” Bates v. Coe, 98 U.S. 31, 38 (1878). In addressing the role of

the specification, the Phillips court quoted with approval its earlier observations from Renishaw

PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998):

       Ultimately, the interpretation to be given a term can only be determined and
       confirmed with a full understanding of what the inventors actually invented and
       intended to envelop with the claim. The construction that stays true to the claim
       language and most naturally aligns with the patent’s description of the invention
       will be, in the end, the correct construction.

Phillips, 415 F.3d at 1316. Consequently, Phillips emphasized the important role the specification

plays in the claim construction process.

       The prosecution history also continues to play an important role in claim interpretation.

Like the specification, the prosecution history helps to demonstrate how the inventor and the

United States Patent and Trademark Office (“PTO”) understood the patent. Id. at 1317. Because

the file history, however, “represents an ongoing negotiation between the PTO and the applicant,”

it may lack the clarity of the specification and thus be less useful in claim construction proceedings.

Id. Nevertheless, the prosecution history is intrinsic evidence that is relevant to the determination

of how the inventor understood the invention and whether the inventor limited the invention during

prosecution by narrowing the scope of the claims. Id.; see Microsoft Corp. v. Multi-Tech Sys.,

Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004) (noting that “a patentee’s statements during

prosecution, whether relied on by the examiner or not, are relevant to claim interpretation”).

       Phillips rejected any claim construction approach that sacrificed the intrinsic record in

favor of extrinsic evidence, such as dictionary definitions or expert testimony. The en banc court

condemned the suggestion made by Texas Digital Systems, Inc. v. Telegenix, Inc., 308 F.3d 1193

(Fed. Cir. 2002), that a court should discern the ordinary meaning of the claim terms (through

dictionaries or otherwise) before resorting to the specification for certain limited purposes.



                                                  4
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 7 of 45 PageID #: 8611



Phillips, 415 F.3d at 1319–24. According to Phillips, reliance on dictionary definitions at the

expense of the specification had the effect of “focus[ing] the inquiry on the abstract meaning of

words rather than on the meaning of claim terms within the context of the patent.” Id. at 1321.

Phillips emphasized that the patent system is based on the proposition that the claims cover only

the invented subject matter. Id.

       Phillips does not preclude all uses of dictionaries in claim construction proceedings.

Instead, the court assigned dictionaries a role subordinate to the intrinsic record. In doing so, the

court emphasized that claim construction issues are not resolved by any magic formula. The court

did not impose any particular sequence of steps for a court to follow when it considers disputed

claim language. Id. at 1323–25. Rather, Phillips held that a court must attach the appropriate

weight to the intrinsic sources offered in support of a proposed claim construction, bearing in mind

the general rule that the claims measure the scope of the patent grant.

       The Supreme Court of the United States has “read [35 U.S.C.] § 112, ¶ 2 to require that a

patent’s claims, viewed in light of the specification and prosecution history, inform those skilled

in the art about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig

Instruments, Inc., 134 S. Ct. 2120, 2129 (2014). “A determination of claim indefiniteness is a

legal conclusion that is drawn from the court’s performance of its duty as the construer of patent

claims.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1347 (Fed. Cir. 2005)

(citations and internal quotation marks omitted), abrogated on other grounds by Nautilus, 134

S. Ct. 2120. “Indefiniteness must be proven by clear and convincing evidence.” Sonix Tech. Co.

v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017).




                                                 5
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 8 of 45 PageID #: 8612



III. AGREED TERMS

       In their July 25, 2018 Revised Joint Claim Construction and Prehearing Statement (Dkt.

No. 110-1, Ex. A) and their August 22, 2018 Joint Claim Construction Chart (Dkt. No. 128-1), the

parties submitted the following agreed-upon constructions:

                      Term                                             Construction

 “reserving a second slot for a second data            “reserving a second slot for a second data
 packet of said IP flow in a transmission frame,       packet of said IP flow in a transmission frame
 subsequent in time to said future transmission        subsequent in time to said future transmission
 frame”                                                frame”

 (’629 Patent, Claim 1)                                The parties agree that the comma is a
                                                       typographical printing error.

 “unlink direction”                                    “uplink direction”

 (’517 Patent, Claim 1)                                The parties agree that the “n” is a
                                                       typographical printing error and should be a
                                                       “p.”

 “customer     premises      equipment   (CPE) “devices residing on the premises of a
 station(s)”                                   customer and used to connect to a telephone
                                               network, including ordinary telephones, key
 (’517 Patent, Claims 1, 12)                   telephone systems, PBXs, video conferencing
                                               devices and modems”
 (’206 Patent, Claims 1, 112, 114)

 “LIP flow”                                            “IP flow”

 (’206 Patent, Claim 32)                               The parties agree that the “L” is a
                                                       typographical printing error.


IV. DISPUTED TERMS

A. “in an isochronous manner”

 Plaintiff’s Proposed Construction                     Defendants’ Proposed Construction

 “in a manner which provides for consistent “according to a consistent time interval”
 timed access”



                                                   6
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 9 of 45 PageID #: 8613



(Dkt. No. 110, Ex. B at 1; Dkt. No. 111 at 3; Dkt. No. 118 at 10; Dkt. No. 128-1 at 1.) The parties

submit that this term appears in Claim 1 of the ’629 Patent, Claim 12 of the ’971 Patent, and Claim

123 of the ’206 Patent. (Dkt. No. 110, Ex. B at 1.)

       (1) The Parties’ Positions

       Plaintiff argues that whereas Plaintiff’s proposed construction is taken from the

specification, “Defendants’ construction unnecessarily alters the patentee’s definition.” (Dkt. No.

111 at 4.)

       Defendants respond: “The patent explicitly defines an isochronous connection as one that

is ‘in phase with respect to time,’ and it equates that articulation with a more layman-friendly

explanation of delivering packets ‘at consistent time intervals.’” (Dkt. No. 118 at 11 (quoting ’629

Patent at 61:41–46).)

       Plaintiff replies that Defendants’ proposal of “‘consistent time interval’ has no antecedent

in the specification and is being used improperly to try to shade the meaning of the claim for later

stages of these proceedings.” (Dkt. No. 126 at 1.)

       (2) Analysis

       Plaintiff’s proposal is unclear as to the meaning of “access.” Even though that word

appears in one of the below-reproduced disclosures, referring to “access” would not be consistent

with the context in which the disputed term appears in the claims. Claim 1 of the ’629 Patent, for

example, recites the disputed term in the context of placing a data packet in a slot (emphasis

added):

       1. A method for assigning future slots of a transmission frame to a data packet in
       the transmission frame for transmission over a wireless medium, comprising:
               applying a reservation algorithm;
               reserving a first slot for a first data packet of an internet protocol (IP) flow
       in a future transmission frame based on said reservation algorithm; and



                                                  7
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 10 of 45 PageID #: 8614



                reserving a second slot for a second data packet of said IP flow in a
        transmission frame, subsequent in time to said future transmission frame based on
        said reservation algorithm,
                wherein said second data packet is placed in said second slot in an
        isochronous manner to the placing of said first data packet in said first slot.

 As to the proper construction, the specification discloses:

        In legacy networks created primarily for voice traffic by telephone companies, data
        transmission was accomplished with reference to a circuit-centric definition of
        [Quality of Service (“QoS”)]. In this definition, QoS implied the ability to carry
        asynchronous (i.e. transmission of data through start and stop sequences without
        the use of a common clock) as well as isochronous (i.e. consistent timed access of
        network bandwidth for time-sensitive voice and video) traffic.

 ’629 Patent at 13:53–60 (emphasis added).

        For calls that are sensitive to jitter, meaning calls that are time sensitive, it is
        important to maintain an isochronous (i.e., in phase with respect to time)
        connection. With such signals, it is important that the data be dispersed in the same
        slot between frames, or in slots having a periodic variation between frames. For
        example, vertical reservation 1480 shows a jitter sensitive signal receiving the same
        slot for downlink communications in each frame. Specifically, the signal is
        assigned slot 1422 in frames 1402-1416. If the frame-to-frame interval is 0.5 ms,
        then a slot will be provided to the IP flow every 0.5 ms. As another example,
        diagonal reservation 1482 shows a jitter sensitive signal receiving a slot varying by
        a period of one between sequential frames. Specifically, the signal is assigned slot
        1440 in frame 1402, slot 1438 in slot [sic, frame] 1404, . . . slot 1426 in frame 1416,
        to create a “diagonal.” If the frame-to-frame interval is 0.5 ms and the slot-to-slot
        interval is 0.01 ms, then a slot can be provided to the IP flow every 0.5 minus 0.01,
        equals 0.49 mms [sic, ms]. Thus, to decrease the frame interval, a diagonal
        reservation of positive slope can be used. To obtain an increased frame interval, a
        diagonal of negative slope such as, e.g., negative slope diagonal uplink reservation
        1486. The diagonal reservation 1482 can also be more pronounced (i.e., using a
        greater or lesser slope), depending on the period between sequential frames desired.

        Reservation patterns 1480, 1482, 1484 and 1486 are useful patterns for jitter
        sensitive communications. Also illustrated is a vertical reservation 1486, similar to
        vertical reservation 1480, useful for a jitter sensitive communication in the uplink
        direction.

 Id. at 61:41–62:3 (emphasis added); see also id. at 50:59–61, Fig. 14. At the September 5, 2018

 hearing, Plaintiff was amenable to construing “isochronous” to mean “in phase with respect to

 time,” as disclosed above. (See Dkt. No. 151 at 5:16–20.)

                                                  8
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 11 of 45 PageID #: 8615



           Yet, while the use of “i.e.” in these disclosures indicates that “isochronous” has a particular

 meaning, the disclosure of “i.e. in phase with respect to time” is unclear and does not adequately

 address the meaning of “isochronous manner,” as used in the claims at issue here. The two

 separate, different above-reproduced uses of “i.e.” prevent a finding of any clear definition by the

 patentee. See Renishaw, 158 F.3d at 1249 (“The patentee’s lexicography must, of course, appear

 with reasonable clarity, deliberateness, and precision before it can affect the claim.”); see also CCS

 Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir. 2002) (“[T]he claim term will not

 receive its ordinary meaning if the patentee acted as his own lexicographer and clearly set forth a

 definition of the disputed claim term in either the specification or prosecution history.”) (emphasis

 added).     Instead, the context provided by these disclosures supports Defendants’ proposed

 construction, in particular as to consistency with respect to time.

           Moreover, Defendants’ proposal comports with technical dictionary definitions of

 “isochronous” that refer to a “time interval,” a “constant phase relationship,” and “a fixed

 frequency or period.” (Dkt. No. 118, Ex. 2, Telephony’s Dictionary 165 (2d ed. 1986); id., Ex. 3,

 McGraw-Hill Dictionary of Scientific and Technical Terms 1057 (5th ed. 1994).)

           The Court therefore hereby construes “in an isochronous manner” to mean “according

 to a consistent time interval.”

 B. “periodic variation”

  Plaintiff’s Proposed Construction                      Defendants’ Proposed Construction

  Plain meaning, “regular variation of the “changing of the placement between frames,
  location within frames into which the data is while maintaining a consistent time interval”
  successively placed”




                                                     9
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 12 of 45 PageID #: 8616



 (Dkt. No. 110, Ex. B at 2; Dkt. No. 111 at 4; Dkt. No. 118 at 13; Dkt. No. 128-1 at 3.) The parties

 submit that this term appears in Claim 3 of the ’629 Patent and Claim 14 of the ’971 Patent. (Dkt.

 No. 110, Ex. B at 2.)

         (1) The Parties’ Positions

         Plaintiff argues: “Defendants’ proposed construction is unhelpful and designed to sow jury

 confusion. It is the location of the data packet within the transmission frame that varies. The

 placement does not change between frames as Defendants propose.” (Dkt. No. 111 at 5.)

         Defendants respond that “Defendants’ construction memorializes what is undisputed;

 although isochronous placement with ‘periodic variation’ allows the particular slot for the packet

 to change between frames, the interval between packet slots must be the same” (as required by the

 independent claims from which the claims here at issue depend). (Dkt. No. 118 at 13.) Defendants

 argue that Plaintiff’s proposed construction “could be misinterpreted to mean that, although this

 dependent claim does not permit any regular variation of the slot location, it is acceptable in this

 claim (and therefore in the independent claims) to have an irregular variation of the slot location.”

 (Id. at 14.)

         Plaintiff replies that, under Defendants’ proposed construction, “[t]he relationship between

 frames, slots, and consistent time intervals is unclear, and there is no way that a jury will

 understand what this means.” (Dkt. No. 126 at 1.)

         (2) Analysis

         Claims 1–3 of the ’629 Patent,1 for example, recite (emphasis added):

         1. A method for assigning future slots of a transmission frame to a data packet in
         the transmission frame for transmission over a wireless medium, comprising:
                 applying a reservation algorithm;

 1
  Claim 2 of the ’629 Patent is not asserted but has been reproduced here for context. Claims 2
 and 3 depend from Claim 1, which is likewise reproduced here for context.

                                                  10
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 13 of 45 PageID #: 8617



                 reserving a first slot for a first data packet of an internet protocol (IP) flow
         in a future transmission frame based on said reservation algorithm; and
                 reserving a second slot for a second data packet of said IP flow in a
         transmission frame, subsequent in time to said future transmission frame based on
         said reservation algorithm,
                 wherein said second data packet is placed in said second slot in an
         isochronous manner to the placing of said first data packet in said first slot.

         2. The method of claim 1, wherein there is a periodic variation between the placing
         of said first data packet in said first slot and the placing of second data packet in
         said second slot.

         3. The method of claim 1, wherein there is no periodic variation between the
         placing of said first data packet in said first slot and the placing of second data
         packet in said second slot.

         The claims thus recite variation, and Plaintiff acknowledges that where variation is periodic

 it “varies by a regular amount.” (Dkt. No. 111 at 4.) Also, the specification provides context in

 which “varying by a period” refers to repeatedly varying by a particular amount from one frame

 to the next:

         As another example, diagonal reservation 1482 shows a jitter sensitive signal
         receiving a slot varying by a period of one between sequential frames. Specifically,
         the signal is assigned slot 1440 in frame 1402, slot 1438 in slot [sic, frame] 1404, .
         . . slot 1426 in frame 1416, to create a “diagonal.” If the frame-to-frame interval is
         0.5 ms and the slot-to-slot interval is 0.01 ms, then a slot can be provided to the IP
         flow every 0.5 minus 0.01, equals 0.49 mms [sic, ms].

 ’629 Patent at 61:51–59 (ellipsis in original; emphasis added); see id. at Fig. 14.

         As to Plaintiff’s proposal of “frames into which the data is successively placed” and

 Defendants’ proposal of “between frames,” the parties’ proposals are directed to other claim

 language and should not be incorporated within the construction of “periodic variation.”

         The Court therefore hereby construes “periodic variation” to mean “repeated variation

 by a particular amount.”




                                                   11
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 14 of 45 PageID #: 8618



 C. “host workstation”

     Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

     Plain meaning, “a computer or other device        “end-point running one or more applications
     that communicates with other computers on a       and capable of serving as the source or
     network and includes a terminal or interface to   destination of an IP flow to or from a
     accept input”                                     subscriber end-point”2

 (Dkt. No. 110, Ex. B at 3; Dkt. No. 111 at 5; Dkt. No. 118 at 14; Dkt. No. 128-1 at 4–5.) The

 parties submit that this term appears in Claim 12 of the ’971 Patent. (Dkt. No. 110 Ex. B at 3.)

           (1) The Parties’ Positions

           Plaintiff argues that “‘host workstation’ is a commonly used generic term,” and

 “Defendants improperly try to limit this general term to a narrow example . . . .” (Dkt. No. 111

 at 5, 7.)

           Defendants respond that “[n]ot every computer with an interface is a ‘host’ workstation,”

 and “IV’s construction improperly includes intermediate devices, such as routers (computers that

 communicate with other computers over a network and include an interface to accept input) . . . .”

 (Dkt. No. 118 at 16.)

           Plaintiff replies: “A ‘host computer’ is a staple term of computer science, which appears in

 tens of thousands of patents in the PTO database. The word ‘host’ simply means that the device

 can connect to a network. Similarly, a ‘host workstation’ is a host computer that also functions as

 a workstation—i.e., it has a terminal or interface to accept input.” (Dkt. No. 126 at 2.)

           (2) Analysis

           The specification refers to “host computers” as well as to “workstation[s]”:

           Network 148 includes an example local area network including a plurality of host
           computers such as, e.g., client workstation 138 and server 136, coupled together

 2
  Defendants previously proposed: “end-point running one or more applications and serving as the
 source or destination of an IP flow to or from a subscriber end-point.” (Dkt. No. 110, Ex. B at 3.)

                                                   12
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 15 of 45 PageID #: 8619



        by wiring including network interface cards (NICs) and a hub, such as, e.g., an
        Ethernet hub. The LAN is coupled to data network 142 by a network router 140
        which permits data traffic to be routed to workstations 144 and 146 from client 138
        and server 136.

 ’971 Patent at 30:49–56 (emphasis added); see id. at 31:56–60 (“A local area network (LAN) can

 be thought of as a plurality of host computers interconnected via network interface cards (NICs)

 in the host computers. The NICs are connected via, for example, copper wires so as to permit

 communication between the host computers.”).

        This disclosure is consistent with Defendants’ proposal that a “host workstation” is an end

 point rather than an intermediate device such as “a network router” or “an Ethernet hub” or, for

 that matter, “wiring.” ’971 Patent at 30:49–56; see id. at Fig. 3B. As Defendants have urged, this

 understanding gives meaning to the constituent term “host.” See Merck & Co. v. Teva Pharm.

 USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) (“A claim construction that gives meaning to all

 the terms of the claim is preferred over one that does not do so.”). Plaintiff argued at the September

 5, 2018 hearing that Plaintiff’s proposal of requiring “a terminal or interface to accept input” would

 exclude network routers, but Plaintiff failed to demonstrate how this is so. Plaintiff has also urged

 that the specification refers to a “host workstation” in terms of accepting input, but Plaintiff has

 not shown how its cited disclosures compel such a construction. See ’971 Patent at 30:53–56,

 32:6–9, 64:1–4, 64:24–31, 72:36–41, 73:47–49, Figs. 1, 2A.

        As to Defendants’ proposal of referring to an “IP flow,” this proposal is consistent with the

 context in which the disputed term is used in the claim here at issue, namely Claim 12 of the ’971

 Patent, which recites (emphasis added):

        12. A quality of service (QoS) aware, wireless communications system comprising:
               a wireless access point base station coupled to a first data network;
               one or more host workstations coupled to said first data network;




                                                  13
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 16 of 45 PageID #: 8620



                one or more wireless network stations in wireless communication with said
        wireless access point base station over a shared wireless network using a packet-
        centric protocol; and
                a scheduler that allocates resources of said shared wireless network among
        said wireless network stations to optimize end-user quality of service (QoS) for an
        Internet Protocol (IP) flow, wherein said IP flow is associated with at least one of
        a latency-sensitive and a jitter-sensitive application;
                wherein said scheduler comprises assigning means for assigning future slots
        of a transmission frame to a portion of said IP flow in said transmission frame for
        transmission over said shared wireless network,
                wherein said assigning means comprises:
                means for applying an advanced reservation algorithm[;]
                means for reserving a first slot for a first data packet of an Internet Protocol
        (IP) flow in a future transmission frame based on said algorithm[;]
                means for reserving a second slot for a second data packet of said IP flow
        in a transmission frame subsequent in time to said future transmission frame based
        on said algorithm,
                wherein said second data packet is placed in said second slot in an
        isochronous manner to the placing of said first data packet in said first slot.

        Defendants’ proposal of referring to an “IP flow” is also consistent with the specification.

 See ’971 Patent at 75:52–57 (“IP packet flow from subscriber workstation . . . to host

 workstation . . .”), 75:66–76:25.     As to Defendants’ proposal of “running one or more

 applications,” Plaintiff “does not dispute that a host workstation runs applications . . . .” (Dkt. No.

 126 at 2.)

        Defendants have not persuasively justified their proposal, however, of “to or from a

 subscriber end-point,” which does not find support in surrounding claim language or in any

 definition or disclaimer in the intrinsic evidence.

        Based on the foregoing, the Court hereby construes “host workstation” to mean

 “end-point device that can run one or more applications and that is capable of serving as the

 source or destination of an IP flow.”




                                                   14
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 17 of 45 PageID #: 8621



 D. “to optimize end-user quality of service (QoS) for an Internet Protocol (IP) flow,” “so as
 to optimize end-user quality of service (QoS) associated with said IP flow,” and “so as to
 optimize end-user internet protocol (IP) quality of service (QoS)”


      “to optimize end-user quality of service (QoS) for an Internet Protocol (IP) flow”
                       (’971 Patent, Claim 12; ’206 Patent, Claim 121)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  “to differentiate between types of traffic or Indefinite
  service types and allocate a different level of
  system resources to an Internet Protocol (IP)
  flow”


      “so as to optimize end-user quality of service (QoS) associated with said IP flow”
                                    (’206 Patent, Claim 1)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  “so as to differentiate between types of traffic Indefinite
  or service types and allocate a different level
  of system resources to said IP flow”


          “so as to optimize end-user internet protocol (IP) quality of service (QoS)”
                                    (’206 Patent, Claim 19)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  “so as to differentiate between types of traffic Indefinite
  or service types and allocate a different level
  of system resources to an Internet Protocol (IP)
  flow”


 (Dkt. No. 110, Ex. B at 3‒5, 7; Dkt. No. 111 at 8; Dkt. No. 118 at 2; Dkt. No. 128-1 at 6‒8.)

        (1) The Parties’ Positions

        Plaintiff argues that “Quality of Service or ‘QoS’ is a well understood term in the

 telecommunications world,” and a person of ordinary skill in the art would understand that “end

 user QoS associated with an IP flow refers to specific metrics of a data transmission link, such as

                                                 15
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 18 of 45 PageID #: 8622



 packet loss, bit rate, latency, and jitter that reflect the QoS for a particular type of IP flow.”

 (Dkt. No. 111 at 8–9.) Plaintiff cites the specification as well as prosecution history. (See id. at 9–

 12.) Plaintiff concludes that Defendants have failed to demonstrate indefiniteness. (Id. at 12–14.)

         Defendants respond that “‘optimize’ is an indefinite, subjective term of degree that varies

 based on user preferences, and neither the specification nor the prosecution history provides

 objective criteria for ‘optimizing’ end-user quality of service (QoS).” (Dkt. No. 118 at 6.)

 Defendants also submit that the District of Delaware found indefinite the term “to optimize end

 user application IP QoS requirements of said software application” in related United States Patent

 No. 6,640,248. (Id. at 2.) Further, Defendants argue that “IV’s proposed construction wrongly

 collapses two separately-recited claim requirements: optimizing end-user QoS and classifying

 traffic based on end-user QoS requirements.” (Id. at 7.)

         Plaintiff replies that “[u]nder IV’s construction the asserted claims are not indefinite

 because a person of ordinary skill would understand with reasonable certainty how to optimize

 end-user QoS for an IP flow.” (Dkt. No. 126 at 2.) Plaintiff also argues that “the patents teach

 how to optimize an IP flow by applying a set of parameters, such as the frequency of dropped

 packets or maximum delay between packets, to achieve a desired set of metrics for an IP flow of

 a particular type.” (Id. at 5.)

         (2) Analysis

         “Claim language employing terms of degree has long been found definite where it provided

 enough certainty to one of skill in the art when read in the context of the invention.” Interval

 Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1370 (Fed. Cir. 2014). “[A]bsolute or mathematical

 precision is not required.” Id.; see id. (“We do not understand the Supreme Court to have implied

 in Nautilus . . . that terms of degree are inherently indefinite.”); see also Nautilus, 134 S. Ct. at



                                                   16
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 19 of 45 PageID #: 8623



 2129 (“The definiteness requirement . . . mandates clarity, while recognizing that absolute

 precision is unattainable.”).

        Nonetheless, “[t]he claims, when read in light of the specification and the prosecution

 history, must provide objective boundaries for those of skill in the art.” Interval Licensing, 766

 F.3d at 1371. “[A] term of degree fails to provide sufficient notice of its scope if it depends on the

 unpredictable vagaries of any one person’s opinion.” Id. (citation and internal quotation marks

 omitted).

        Claim 12 of the ’971 Patent, for example, recites (emphasis added):

        12. A quality of service (QoS) aware, wireless communications system comprising:
                a wireless access point base station coupled to a first data network;
                one or more host workstations coupled to said first data network;
                one or more wireless network stations in wireless communication with said
        wireless access point base station over a shared wireless network using a packet-
        centric protocol; and
                a scheduler that allocates resources of said shared wireless network among
        said wireless network stations to optimize end-user quality of service (QoS) for an
        Internet Protocol (IP) flow, wherein said IP flow is associated with at least one of
        a latency-sensitive and a jitter-sensitive application;
                wherein said scheduler comprises assigning means for assigning future slots
        of a transmission frame to a portion of said IP flow in said transmission frame for
        transmission over said shared wireless network,
                wherein said assigning means comprises:
                means for applying an advanced reservation algorithm[;]
                means for reserving a first slot for a first data packet of an Internet Protocol
        (IP) flow in a future transmission frame based on said algorithm[;]
                means for reserving a second slot for a second data packet of said IP flow
        in a transmission frame subsequent in time to said future transmission frame based
        on said algorithm,
                wherein said second data packet is placed in said second slot in an
        isochronous manner to the placing of said first data packet in said first slot.

        On one hand, the specification refers to “optimal” performance in terms of handling

 communications in ways that depend on the types of data being communicated:

        Simply providing “adequate” bandwidth is not a sufficient QoS mechanism for
        packet-switched networks, and certainly not for wireless broadband access systems.
        Although some IP-flows are “bandwidth-sensitive,” other flows are

                                                  17
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 20 of 45 PageID #: 8624



        latency- and/or jitter-sensitive. Real time or multimedia flows and applications
        cannot be guaranteed timely behavior by simply providing excessive bandwidth,
        even if it were not cost-prohibitive to do so. It is desirable that QoS mechanisms
        for an IP-centric wireless broadband access system recognize the detailed flow-by-
        flow requirements of the traffic, and allocate system and media resources necessary
        to deliver these flows in an optimal manner.

        ***

        The wireless transmission frames in each direction are constructed in a manner
        dictated by the individual QoS requirements of each IP flow. By using QoS
        requirements to build the wireless transmission frames, optimal QoS performance
        can result over the entire range of applications being handled by the system. For
        example, latency and jitter sensitive IP telephony, other H.323 compliant IP
        streams, and real-time audio and video streams can be given a higher priority for
        optimal placement in the wireless transmission frames. On the other hand,
        hypertext transport protocol (HTTP) traffic, such as, e.g., initial web page
        transmissions, can be given higher bandwidth reservation priorities for that
        particular application task. Other traffic without latency, jitter, or bandwidth
        requirements such as, e.g., file transfer protocol (FTP) file downloads, email
        transmissions, can be assigned a lower priority for system resources and placement
        in the wireless transmission frame.

 ’206 Patent at 13:16–27, 21:41–58 (emphasis added); see id. at 57:5–10 (“[T]he present

 invention’s reservation protocol with a dynamically adjustable number of contention subslots and

 explicit wireless base station reservation grants, allows a more optimal means of providing for the

 allocation of wireless, such as, e.g., radio, bandwidth in response to QoS requirements of IP-flows

 than any prior method.”); see also id. at 58:45–50 (“For example, suppose the data packets of class

 1 packet flow queue 1324 require jitter-free and latency-free delivery, i.e., delivery of packets must

 be at constant time intervals and in real-time. Packet flow queue 1324 creates, e.g., 4 equal time

 spaced slot reservations in future frames . . . .”); id. at 58:28–60:28, 62:31–48. Plaintiff has also

 argued that the disclosures in the specification, as well as the recitals of “IP flows,” are directed to

 network operators rather than end users. See id. at 14:21‒25 (“simplify the operation and

 administration of the QoS mechanism”); 51:14‒16 (“By placing all scheduling function at the




                                                   18
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 21 of 45 PageID #: 8625



 wireless base station 302, overall system quality of service can be optimized by centralizing the

 control of scheduling.”).

        On the other hand, the specification further explains that optimizing quality of service

 (“QoS”) ultimately depends on how “the user defines it”:

        QoS can be a relative term, finding different meanings for different users. A casual
        user doing occasional web browsing, but no file transfer protocol (FTP) file
        downloads or real time multimedia sessions may have different a different [sic]
        definition of QoS than a power user doing many FTP file downloads of large
        database or financial files, frequent H.323 video conferencing and IP telephony
        calls. Also, a user can pay a premium rate (i.e. a so-called service level agreement
        (SLA)) for high network availability, low latency, and low jitter, while another user
        can pay a low rate for occasional web surfing only, and on weekends only.
        Therefore, perhaps it is best to understand QoS as a continuum, defined by what
        network performance characteristic is most important to a particular user and the
        user’s SLA. Maximizing the end-user experience is an essential component of
        providing wireless QoS.

        ***

        QoS can be thought of as a mechanism to selectively allocate scarce networking,
        transmission and communications resources to differentiated classes of network
        traffic with appropriate levels of priority. Ideally, the nature of the data traffic, the
        demands of the users, the conditions of the network, and the characteristics of the
        traffic sources and destinations all modify how the QoS mechanism is operating at
        any given instant. Ultimately, however, it is desirable that the QoS mechanism
        operate in a manner that provides the user with optimal service, in whatever
        manner the user defines it.

 Id. at 11:41–56, 12:7–17 (emphasis added); see also id. at 13:45–48 (“The nature of the data

 application itself and the desired end-user experience then can provide the most reliable criteria

 for the QoS mechanism.”).

        On balance, “to optimize end-user quality of service (QoS)” lacks sufficient “objective

 boundaries” for those of skill in the art to understand the scope of the claims, even when considered

 in light of the specification. Interval Licensing, 766 F.3d at 1371.




                                                   19
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 22 of 45 PageID #: 8626



        The various general disclosures regarding QoS cited by Plaintiff do not compel otherwise.

 See, e.g., ’206 Patent at 10:61–11:54, 12:7–10, 13:34–48, 14:9–25 (“differing levels of system

 resources can be allocated”), 32:4–12, 39:7–20, 40:59–41:3.

        The prosecution history cited by Plaintiff (regarding United States Patent Application No.

 09/349,478, cited in the patents-in-suit) is likewise unpersuasive:

        The present invention optimizes end-user quality of service (QoS) by differentiating
        between types of traffic or service types so that differing levels of system resources
        can be allocated to these different types. . . . By creating a finite number of discrete
        classes of service, multiple IP flows can be consolidated and handled with a given
        set of QoS parameters by the QoS mechanisms.

 (See Dkt. No. 111, Ex. 5, Mar. 27, 2002 Amendment and Reply Under 37 C.F.R. § 1.111 and 1.121

 at 13 (emphasis in original); see id. at 13–14 (“End-user quality of service (QoS) is not optimized

 in [the] Meier [reference] because differentiating between types of traffic or service types is

 required in order to optimize end-user quality of service (QoS).”) (emphasis omitted).)

        Here, too, although the patentee referred to differentiating between different types of data

 traffic, the patentee did not define or sufficiently explain the meaning of “optimize,” especially in

 the context of “end-user” QoS. To the extent that Plaintiff is arguing that “to optimize” means

 merely to treat differently, this argument is unavailing. The prosecution history set forth above

 indicates that differentiating is necessary in order to optimize, but this does not amount to an

 explanation of what “optimize” means. Further, dependent Claim 121 of the ’206 Patent, in which

 one of the disputed terms appears, depends from Claim 109 of the ’206 Patent, which separately

 recites “classifying a plurality of packets according to end-user quality of service requirements of

 said plurality of packets.” Claim 1 of the ’206 Patent is similar in this regard. See Phillips, 415

 F.3d at 1314 (“Other claims of the patent in question, both asserted and unasserted, can also be

 valuable sources of enlightenment as to the meaning of a claim term.”). The above-cited



                                                  20
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 23 of 45 PageID #: 8627



 disclosures demonstrate that to “optimize” means something more than merely differentiating or

 classifying, but the meaning is left unclear.

        Finally, Plaintiff has asserted that Defendants have failed to meet their burden to “provide[]

 a factual record” by submitting an expert declaration as to the claims here at issue. (Dkt. No. 111

 at 13.) The Court finds that Defendants’ expert has presented relevant opinions that are persuasive

 and that thus provide additional support for the Court’s finding that the recital of “optimize,” as

 used in the claims here at issue, renders the claims indefinite. (See Dkt. No. 118, Ex. 1, Aug. 8,

 2018 Rubin Decl. ¶ 53 (“merely distinguishing one type of traffic from another does not inform

 how to optimize among the competing needs of that traffic”); see also id. ¶¶ 22–25, 33, 35–36,

 38–54.) The contrary opinions of Plaintiff’s expert are unpersuasive. (See Dkt. No. 111, Ex. 9,

 July 10, 2018 Williams Decl. ¶ 28 (“parameters are optimized by a network operator through the

 adjustment of defined end-user QoS parameters for a particular IP flow such as packet delay

 budget, jitter, error rate, etc.”); see also id. ¶¶ 13–29; Dkt. No. 126, Ex. 10, 2d Williams Decl. ¶¶

 5–16.) For example, Plaintiff’s expert opines: “In a telecommunications environment where there

 are multiple users and multiple IP flows competing for limited network resources, the network

 operator needs to make trade-offs in the allocation of those resources.” (Id. ¶ 8.) Plaintiff has

 failed to demonstrate that such “trade-offs,” in the context of optimizing end-user QoS, would be

 anything other than subjective. See Datamize, 417 F.3d at 1350–51.3



 3
   On the eve of the September 5, 2018 hearing, the Federal Circuit affirmed an indefiniteness
 finding by the District of Delaware as to the term “allocating means for allocating resources to
 said IP flow . . . so as to optimize end user application IP QoS requirements of said software
 application” in Claim 20 of related United States Patent No. 6,640,248. See Intellectual Ventures I,
 LLC v. T-Mobile USA, Inc., 902 F.3d 1372, 1381 (Fed. Cir. 2018), affirming Intellectual Ventures
 I, LLC v. AT&T Mobility LLC, Nos. 13-1668, 13-1669, 13-1670, 13-1671, 13-1672, 14-1229, 14-
 1230, 14-1231, 14-1232, 14-1233, 2016 WL 4363485 (D. Del. Aug. 12, 2016).
        At the September 5, 2018 hearing, Plaintiff urged that definiteness must be evaluated on a
 claim-by-claim basis, and the Federal Circuit found indefiniteness only as to one particular claim
                                                  21
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 24 of 45 PageID #: 8628



        The Court therefore hereby finds that “to optimize end-user quality of service (QoS) for

 an Internet Protocol (IP) flow,” “so as to optimize end-user quality of service (QoS)

 associated with said IP flow,” and “so as to optimize end-user internet protocol (IP) quality

 of service (QoS)” in Claim 12 of the ’971 Patent and Claims 1, 19, and 121 of the ’206 Patent are

 indefinite.




 in a different patent. Plaintiff also submitted that Defendants presented their indefiniteness
 challenge only as to Claim 12 of the ’971 Patent and Claims 1, 19, and 121 of the ’206 Patent.
 Plaintiff argued that dependent claims may include limitations that provide reasonable certainty.
 See, e.g., Halliburton Energy Servs., Inc. v. M-I, LLC, 514 F.3d 1244, 1250 n.2 (Fed. Cir. 2008);
 Signal IP v. Am. Honda Motor Co., Inc., No. 14-CV-02454, 2015 WL 5768344, at *35 n.15 (C.D.
 Cal. Apr. 17, 2015). Defendants responded that the onus was on Plaintiff to demonstrate that any
 dependent claims include limitations that overcome the indefiniteness arguments presented as to
 particular claims that Defendants have challenged.
         At the September 5, 2018 hearing, the Court instructed the parties to file proposals for
 addressing this dispute. After the parties filed Notices (Dkt. Nos. 147, 148), the Court set a briefing
 schedule for a motion for summary judgment. (Dkt. No. 149, Sept. 10, 2018 Order for Expedited
 Briefing.) Defendants’ filed a Motion for Partial Summary Judgment That Asserted Claims
 Reciting the Indefinite “Optimize” Term Are Invalid as Indefinite. (Dkt. No. 155.) The Court
 addresses that motion by separate Order.
                                                   22
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 25 of 45 PageID #: 8629



 E. “assigning means for assigning future slots of a transmission frame to a portion of said
 IP flow in said transmission frame for transmission over said shared wireless network”

     Plaintiff’s Proposed Construction               Defendants’ Proposed Construction

     Means-plus-function limitation under § 112 Function:
     ¶ 6.                                               “assigning future slots of a transmission
                                                    frame to a portion of said IP flow in said
     Function:                                      transmission frame for transmission over said
          “assigning future slots of a transmission shared wireless network”
     frame to a portion of said IP flow in said
     transmission frame over said shared wireless Structure:
     network”                                           MAC downlink subframe scheduler 1566
                                                    or MAC uplink subframe scheduler 1666,
     Structure:                                     implementing an algorithm that assigns future
                                                 4
          MAC subframe schedulers 1566 or 1666      slots to a portion of an IP flow based on the
                                                    priority of the IP flow, as described at ’971
                                                    Patent 61:65–62:115

 (Dkt. No. 110, Ex. B at 8; Dkt. No. 111 at 14; Dkt. No. 118 at 19; Dkt. No. 128-1 at 10.) The

 parties submit that this term appears in Claim 12 of the ’971 Patent. (Dkt. No. 110, Ex. B at 8.)

           (1) The Parties’ Positions

           Plaintiff argues that the specification citation proposed by Defendants “would unduly limit

 the scope of the assigning means and potentially conflict with the remaining three means

 elements.” (Dkt. No. 111 at 15.) Further, Plaintiff argues that Defendants’ proposal should be

 rejected because “[f]ocusing exclusively on the IP flow rather than on the data packets and the IP

 flow associated with these packets is incorrect.” (Id. at 16.)




 4
  Plaintiff previously proposed: “Plain meaning, as this term is not governed by 35 U.S.C. § 112 ¶
 6, or, should the Court find this term to be governed by § 112 ¶ 6: / Function: assigning future slots
 of a transmission frame to a portion of said IP flow in said transmission frame for transmission
 over said shared wireless network / Structure: MAC subframe schedulers 1566 or 1666.” (Dkt.
 No. 110, Ex. B at 8.)
 5
   Defendants previously proposed: “downlink scheduler 1566 or uplink scheduler 1666,
 implementing an algorithm that assigns future slots to a portion of an IP flow based on the priority
 of the IP flow, as described at ’971 Patent 61:65‒62:11.” (Dkt. No. 110, Ex. B at 8.)

                                                   23
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 26 of 45 PageID #: 8630



        Defendants respond that “IV has failed to provide any algorithm in its proposed structure

 and neglected to provide any reasoning for why an algorithm is not required. Here, the mere

 disclosure of a generic scheduler that runs on a general purpose processor along with an

 identification of the location of the subframe being scheduled (i.e., the MAC) does not disclose

 any algorithm as required by Federal Circuit precedent.” (Dkt. No. 118 at 19.)

        Plaintiff replies that “the uplink and downlink schedulers are not general purpose

 computers” and therefore the corresponding structure need not include an algorithm. (Dkt.

 No. 126 at 8.)

        (2) Analysis

        Title 35 U.S.C. § 112, ¶ 6 provides: “An element in a claim for a combination may be

 expressed as a means or step for performing a specified function without the recital of structure,

 material, or acts in support thereof, and such claim shall be construed to cover the corresponding

 structure, material, or acts described in the specification and equivalents thereof.”

        “In a means-plus-function claim in which the disclosed structure is a computer, or

 microprocessor, programmed to carry out an algorithm, the disclosed structure is not the general

 purpose computer, but rather the special purpose computer programmed to perform the disclosed

 algorithm.” WMS Gaming Inc. v. Int’l Gaming Tech., 184 F.3d 1339, 1349 (Fed. Cir. 1999). The

 parties dispute whether the “MAC downlink subframe scheduler 1566” and the “MAC uplink

 subframe scheduler 1666” are general purpose computers such that an algorithm is required as part

 of the corresponding structure.

        The specification discloses that the “MAC downlink subframe scheduler 1566” is a

 “processor module”:

        MAC downlink subframe scheduler 1566 is a processor module that takes the
        packets queued in class queues 1564a-1564f, and can make frame slot reservations

                                                  24
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 27 of 45 PageID #: 8631



        to fill up subframes 1568a-1568k based on priorities 1570, 1572 and 1574, which
        is a variable number of frames.

 ’971 Patent at 67:36–40; see id. at 66:10–11 (“MAC downlink subframe scheduler module 1566”).

 The specification also refers to “MAC uplink subframe scheduler module 1666.” Id. at 71:66–67

 (emphasis added).

        Nonetheless, the claim in which this disputed term appears already separately recites

 several additional limitations as to what “said assigning means comprises” (emphasis added):

        12. A quality of service (QoS) aware, wireless communications system comprising:
                a wireless access point base station coupled to a first data network;
                one or more host workstations coupled to said first data network;
                one or more wireless network stations in wireless communication with said
        wireless access point base station over a shared wireless network using a packet-
        centric protocol; and
                a scheduler that allocates resources of said shared wireless network among
        said wireless network stations to optimize end-user quality of service (QoS) for an
        Internet Protocol (IP) flow, wherein said IP flow is associated with at least one of
        a latency-sensitive and a jitter-sensitive application;
                wherein said scheduler comprises assigning means for assigning future slots
        of a transmission frame to a portion of said IP flow in said transmission frame for
        transmission over said shared wireless network,
                wherein said assigning means comprises:
                means for applying an advanced reservation algorithm[;]
                means for reserving a first slot for a first data packet of an Internet Protocol
        (IP) flow in a future transmission frame based on said algorithm[;]
                means for reserving a second slot for a second data packet of said IP flow
        in a transmission frame subsequent in time to said future transmission frame based
        on said algorithm,
                wherein said second data packet is placed in said second slot in an
        isochronous manner to the placing of said first data packet in said first slot.

        The Court therefore rejects Defendants’ argument that the corresponding structure must

 include an algorithm from the specification.

        Having thus resolved the parties’ dispute, and the parties being otherwise in agreement as

 to the proper construction, the Court hereby finds that “assigning means for assigning future

 slots of a transmission frame to a portion of said IP flow in said transmission frame for



                                                  25
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 28 of 45 PageID #: 8632



 transmission over said shared wireless network” is a means-plus-function term, the claimed

 function is “assigning future slots of a transmission frame to a portion of said IP flow in said

 transmission frame for transmission over said shared wireless network,” and the

 corresponding structure is “MAC downlink subframe scheduler 1566 or MAC uplink

 subframe scheduler 1666; and equivalents thereof.”

 F. “means for applying an advanced reservation algorithm”

     Plaintiff’s Proposed Construction             Defendants’ Proposed Construction

     Means-plus-function limitation under § 112 Function:
     ¶ 6.                                             “applying an advanced reservation
                                                  algorithm”
     Function:
          “applying an advanced reservation Structure:
     algorithm”                                       MAC downlink subframe scheduler 1566
                                                  or MAC uplink subframe scheduler 1666
     Structure:                                   implementing an algorithm that determines the
          MAC subframe schedulers 1566 or 1666 latency and jitter sensitivity of flows and then
     configured to assign future slots to data determines how to assign slots based on that
     packets based on the priority of the IP data determination (e.g., periodically or not, with
     flow with which the packet is associated, as what period), as described at ’971 Patent
     described at ’971 Patent 23:14–35, 61:35– 51:11–23, 61:6–16, 61:65–62:7, 62:32–37,
     62:56, 63:47–57, 66:7–15, 67:36–50, 71:63– Fig. 147
     72:04, 72:53–66, 73:27–40, Figs. 14, 15A,
     15B, 16A, and 16B6

 (Dkt. No. 111 at 16; Dkt. No. 118 at 19–20; Dkt. No. 128-1 at 11–12.) The parties submit that this

 term appears in Claim 12 of the ’971 Patent. (Dkt. No. 110 Ex. B at 8.)




 6
  Plaintiff previously proposed: “Plain meaning, as this term is not governed by 35 U.S.C. § 112 ¶
 6 . . . .” (Dkt. No. 110, Ex. B at 8–9.)
 7
   Defendants previously proposed: “downlink scheduler 1566 or uplink scheduler 1666
 implementing an algorithm that determines the latency and jitter sensitivity of flows and then
 determines how to assign slots based on that determination (e.g., periodically or not, with what
 period), as described at ’971 Patent 51:11‒23, 61:6‒16, 61:65‒62:7, 62:32‒37, Fig. 14.” (Dkt. No.
 110, Ex. B at 8–9.)

                                                 26
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 29 of 45 PageID #: 8633



        (1) The Parties’ Positions

        Plaintiff argues, as to Defendants’ proposed algorithm: “This construction is not taken from

 the specification and has no support in the intrinsic evidence. It seeks to narrow the claim scope

 to a single embodiment and should be rejected.           Nothing in the specification requires the

 reservation algorithm to determine any latency or jitter sensitivities.” (Dkt. No. 111 at 17.)

 Plaintiff submits that Plaintiff’s proposal, by contrast, “is taken verbatim from the specification.”

 (Id. at 16 (citing ’971 Patent at 61:65–62:1).)

        Defendants respond that “IV ignores . . . the further detail that the specification provides

 regarding how the advanced reservation algorithm actually determines the priority of the IP data

 flow and assigns slots based on those priorities.” (Dkt. No. 118 at 20.)

        Plaintiff replies that “Defendants seek to limit the priority determination to latency and

 jitter sensitivity,” despite “numerous priorities identified in the patent specification.” (Dkt.

 No. 126 at 8–9.)

        (2) Analysis

        The parties agree that the corresponding structure for the “means for applying an advanced

 reservation algorithm” should include citation to configuration details set forth in the specification.

 The parties dispute merely which details should be included.

        Under section 112, paragraph 6, structure disclosed in the specification is
        “corresponding” structure “only if the specification or the prosecution history
        clearly links or associates that structure to the function recited in the claim.”
        B. Braun Med., Inc. v. Abbott Labs., 124 F.3d 1419, 1424, 43 USPQ2d 1896, 1900
        (Fed. Cir. 1997). A court may not import into the claim features that are
        unnecessary to perform the claimed function. Acromed Corp. v. Sofamor Danek
        Group, Inc., 253 F.3d 1371, 1382, 59 USPQ2d 1130, 1138 (Fed. Cir. 2001).

 Northrup Grumman Corp. v. Intel Corp., 325 F.3d 1346, 1352 (Fed. Cir. 2003) (citations omitted).




                                                   27
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 30 of 45 PageID #: 8634



        Here, the parties have cited various disclosures in the specification, as noted above, but the

 portion that the specification “clearly links or associates . . . to the function recited in the claim”

 (id.) appears in a series of paragraphs that explain “[i]n the present invention, an advanced

 reservation algorithm assigns future slots to data packets based on the priority of the IP data flow

 with which the packet is associated.” ’971 Patent at 61:65–62:56.

        Plaintiff’s reply brief argues that the corresponding structure should include the “priorities”

 disclosed in the ’971 Patent at 51:56–52:20. (See Dkt. No. 126 at 8–9.) This disclosure does not

 appear among the disclosures set forth in Plaintiff’s portion of the parties’ pre-briefing Joint Claim

 Construction and Prehearing Statement, in Plaintiff’s opening brief, or in Plaintiff’s portion of the

 parties’ post-briefing Joint Claim Construction Chart. (See Dkt. No. 110, Ex. B at 8–9; see also

 Dkt. No. 111 at 16; Dkt. No. 128-1 at 11–12.) Nonetheless, this disclosure need not be included

 as part of the express corresponding structure because the disclosure in the ’971 Patent at 61:65–

 62:56 states that “[e]xemplary priorities are described above with respect to FIGS. 8A and 8B”

 (which is set forth in the disclosure in 51:56–52:20). ’971 Patent at 62:1‒2.

        Nonetheless, to whatever extent Defendants are arguing that the corresponding structure is

 limited to latency sensitivity and jitter sensitivity (let alone determining values for latency

 sensitivity and jitter sensitivity), no such disclosure is apparent, and the Court hereby expressly

 rejects any such requirement.

        The Court accordingly hereby finds that “means for applying an advanced reservation

 algorithm” is a means-plus-function term, the claimed function is “applying an advanced

 reservation algorithm,” and the corresponding structure is “MAC downlink subframe

 scheduler 1566 or MAC uplink subframe scheduler 1666 configured as set forth in the

 ’971 Patent at 61:65–62:56; and equivalents thereof.”



                                                   28
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 31 of 45 PageID #: 8635



 G. “means for reserving a first slot for a first data packet of an Internet Protocol (IP) flow
 in a future transmission frame based on said algorithm”

     Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

     Means-plus-function limitation under § 112 Means-plus-function limitation under § 112
     ¶ 6.                                       ¶ 6.

     Function:                                           Function:
         “reserving a first slot for a first data packet     “reserving a first slot for a first data packet
     of an Internet Protocol (IP) flow in a future of an Internet Protocol (IP) flow in a future
     transmission frame based on said algorithm”         transmission frame based on said algorithm”

     Structure:                                          Structure:
         MAC subframe schedulers 1566 or 1666                MAC downlink subframe scheduler 1566
     configured to reserve slots in a future             or MAC uplink subframe scheduler 1666
     transmission frame in accordance with one or        implementing an algorithm for assigning a first
     more of the patterns shown in Figure 14, by         future slot that is at least one frame in the
     reserving a slot one or more frames in the          future from the current frame based on the
     future, or as described at ’971 Patent 23:14–35,    determination by the reservation algorithm of
     61:35–62:56, 63:47–57, 66:7–15, 67:36–50,           the latency- and jitter-sensitivity of the flows,
     71:63–72:04, 72:53–66, 73:27–40, Figs. 14,          as described at ’971 Patent 62:7–17, 62:46–54,
     15A, 15B, 16A, and 16B8                             67:36–47, 73:27–37, Fig. 149

 (Dkt. No. 110, Ex. B at 9–10; Dkt. No. 111 at 17–18; Dkt. No. 118 at 21; Dkt. No. 128-1 at 12–

 13.) The parties submit that this term appears in Claim 12 of the ’971 Patent. (Dkt. No. 110, Ex.

 B at 9.)

            (1) The Parties’ Positions

            Plaintiff argues that whereas Plaintiff’s proposal is “fully supported by the specification . . .

 without any extraneous phrases or unnecessary confusion,” “Defendants once again attempt to add




 8
   Plaintiff previously proposed: “Plain meaning, as this term is not governed by 35 U.S.C. § 112
 ¶ 6 . . . .” (Dkt. No. 110, Ex. B at 9–10.)
 9
    Defendants previously proposed: “downlink scheduler 1566 or uplink scheduler 1666
 implementing an algorithm for assigning a first future slot that is at least one frame in the future
 from the current frame based on the determination by the reservation algorithm of the latency- and
 jitter-sensitivity of the flows, as described at ’971 Patent 62:7–17, 62:46–54, 67:36–47, 73:27–37,
 Fig. 14.” (Dkt. No. 110, Ex. B at 9–10.)

                                                       29
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 32 of 45 PageID #: 8636



 limitations to the structure that are both confusing and unsupported by the specification.” (Dkt.

 No. 111 at 18.)

        Defendants respond that “[t]he ’971 Patent explains that once the advanced algorithm

 determines the sensitivities and priorities of an IP flow, and determines generally how to assign

 slots, the algorithm selects specific slots for the current frame and frames that will occur in the

 future, relative to the current frame . . . .” (Dkt. No. 118 at 21 (citing ’971 Patent at 61:40–46,

 62:7–17).)

        Plaintiff replies: “The ‘means for reserving’ incorporates its own algorithm—‘said

 algorithm,’ i.e., the advanced reservation algorithm—from the prior element. Accordingly, the

 schedulers when running the advanced reservation algorithm are the corresponding structure.”

 (Dkt. No. 126 at 9.)

        (2) Analysis

        This disputed term presents substantially the same issues as the term “means for applying

 an advanced reservation algorithm,” addressed above. The Court reaches the same conclusions

 for the same reasons.

        The claimed function in this disputed term contains no “current frame” limitation, but at

 the September 5, 2018 hearing, Defendants urged that the frame that is going to be transmitted

 next is referred to in the ’971 Patent as the “current” frame. See ’971 Patent at 61:40‒46, Fig. 14.

 On balance, Defendants’ proposed explanation regarding the “current frame” is potentially

 confusing and is unnecessary in light of the context provided by the claim language and by the

 disclosure cited in the Court’s construction.

        The Court accordingly hereby finds that “means for reserving a first slot for a first data

 packet of an Internet Protocol (IP) flow in a future transmission frame based on said



                                                 30
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 33 of 45 PageID #: 8637



 algorithm” is a means-plus-function term, the claimed function is “reserving a first slot for a

 first data packet of an Internet Protocol (IP) flow in a future transmission frame based on

 said algorithm,” and the corresponding structure is “MAC downlink subframe scheduler 1566

 or MAC uplink subframe scheduler 1666 implementing the algorithms set forth in the ’971

 Patent at 61:65–62:56; and equivalents thereof.”

 H. “means for reserving a second slot for a second data packet of said IP flow in a
 transmission frame subsequent in time to said future transmission frame based on said
 algorithm”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  Means-plus-function limitation under § 112 Means-plus-function limitation under § 112
  ¶ 6.                                       ¶ 6.

  Function:                                          Function:
     “reserving a second slot for a second data         “reserving a second slot for a second data
  packet of said IP flow in a transmission frame     packet of said IP flow in a transmission frame
  subsequent in time to said future transmission     subsequent in time to said future transmission
  frame based on said algorithm”                     frame based on said algorithm”

  Structure:                                         Structure:
      MAC subframe schedulers 1566 or 1666               MAC downlink subframe scheduler 1566
  configured to reserve slots in a second future     or MAC uplink subframe scheduler 1666
  transmission frame, in accordance with one or      implementing an algorithm for assigning a
  more of the patterns shown in Figure 14, by        second future slot in a frame that is at least two
  reserving a slot two or more frames in the         frames in the future from the current frame
  future, or as described at ’971 Patent 23:14–35,   based on the determination by the reservation
  61:35–62:56, 63:47–57, 66:7–15, 67:36–50,          algorithm of the latency- and jitter-sensitivity
  71:63–72:04, 72:53–66, 73:27–40, Figs. 14,         of the flows, as described at ’971 Patent 62:7–
  15A, 15B, 16A, 16B10                               17, 62:46–54, 67:36–47, 73:27–37, Fig. 1411




 10
   Plaintiff previously proposed: “Plain meaning, as this term is not governed by 35 U.S.C. § 112
 ¶ 6 . . . .” (Dkt. No. 110, Ex. B at 10–11.)
 11
     Defendants previously proposed: “downlink scheduler 1566 or uplink scheduler 1666
 implementing an algorithm for assigning a second future slot in a frame that is at least two frames
 in the future from the current frame based on the determination by the reservation algorithm of the
 latency- and jitter-sensitivity of the flows, as described at ’971 Patent 62:7–17, 62:46–54, 67:36–
 47, 73:27–37, Fig. 14.” (Dkt. No. 110, Ex. B at 10–11.)

                                                 31
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 34 of 45 PageID #: 8638



 (Dkt. No. 110, Ex. B at 10–11; Dkt. No. 111 at 18–19; Dkt. No. 118 at 21; Dkt. No. 128-1 at 14–

 15.) The parties submit that this term appears in Claim 12 of the ’971 Patent. (Dkt. No. 110, Ex.

 B at 10.)

        (1) The Parties’ Positions

        Plaintiff argues that “for the reasons described above [as to the ‘means for reserving a first

 slot . . .’], Defendants’ proposed construction improperly and incorrectly incorporates a

 determination of latency- and jitter-sensitivity as well as introducing the term ‘current frame’

 which will confuse a jury.” (Dkt. No. 111 at 19.)

        Defendants respond as to this term together with the “means for reserving a first slot” term

 addressed above. (See Dkt. No. 118 at 21–22.)

        Plaintiff replies as to this term together with the “means for reserving a first slot” term

 addressed above. (See Dkt. No. 126 at 9.)

        (2) Analysis

        This disputed term presents substantially the same issues as the term “means for reserving

 a first slot for a first data packet of an Internet Protocol (IP) flow in a future transmission frame

 based on said algorithm,” addressed above. The Court reaches the same conclusions for the same

 reasons.

        The Court accordingly hereby finds that “means for reserving a second slot for a second

 data packet of said IP flow in a transmission frame subsequent in time to said future

 transmission frame based on said algorithm” is a means-plus-function term, the claimed

 function is “reserving a second slot for a second data packet of said IP flow in a transmission

 frame subsequent in time to said future transmission frame based on said algorithm,” and

 the corresponding structure is “MAC downlink subframe scheduler 1566 or MAC uplink



                                                  32
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 35 of 45 PageID #: 8639



 subframe scheduler 1666 implementing the algorithms set forth in the ’971 Patent at 61:65–

 62:56; and equivalents thereof.”

 I. “means for taking into account service level agreement (SLA) based priorities for said IP
 flow”

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Means-plus-function limitation under § 112 Means-plus-function limitation under § 112
  ¶ 6.                                       ¶ 6.

  Function:                                    Function:
      “taking into account service level           “taking into account service level
  agreement (SLA) based priorities for said IP agreement (SLA) based priorities for said IP
  flow”                                        flow”

  Structure:                                       Structure:
      Downlink scheduler 604/1566 or uplink            downlink scheduler 604/1566 or uplink
  scheduler 634/1666 configured to use             scheduler 634/1666 implementing an
  information from SLA priority data table 1570    algorithm that increases or decreases queuing
  to affect the queueing function and provide      priority of an IP flow based on the service level
  different service levels to users12              agreement of the user associated with the IP
                                                   flow, as described at ’971 Patent 53:49–57,
                                                   53:34–36, 66:57–63.

 (Dkt. No. 110, Ex. B at 11; Dkt. No. 111 at 19–20; Dkt. No. 118 at 22; Dkt. No. 128-1 at 15–16.)

 The parties submit that this term appears in Claim 18 of the ’971 Patent. (Dkt. No. 110, Ex. B at

 11.)

        (1) The Parties’ Positions

        Plaintiff argues that whereas Plaintiff’s proposed construction “is again taken directly from

 the specification,” “Defendants’ additional proposed structure excludes all but one embodiment

 and is therefore improper.” (Dkt. No. 111 at 20 (citing ’971 Patent at 63:47–56).)




 12
   Plaintiff previously proposed: “Plain meaning, as this term is not governed by 35 U.S.C. § 112
 ¶ 6 . . . .” (Dkt. No. 110, Ex. B at 11.)

                                                 33
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 36 of 45 PageID #: 8640



        Defendants respond that “Defendants’ proposed construction identifies the only algorithm

 described in the patent for taking into account SLA based priorities.” (Dkt. No. 118 at 22 (citing

 ’971 Patent at 66:59–63).)

        Plaintiff replies that “IV’s construction correctly identifies the disclosed structure,

 including that the scheduler is configured to apply a set of rules (‘downlink flow scheduler 604 . . .

 based on a set of rules, schedules the data packets’) that operate upon specific data (‘the rules can

 be determined by inputs to the . . . scheduler from . . . a service level agreement priority data table

 1570’).” (Dkt. No. 126 at 9 (citing ’971 Patent at 63:47–56).)

        (2) Analysis

        The specification discloses:

        Downlink flow scheduler 604 places the data packets of an IP data flow into a class
        queue, and based on a set of rules, schedules the data packets for transmission over
        the wireless medium to a subscriber CPE station using, e.g., an advanced
        reservation algorithm. The rules can be determined by inputs to the downlink flow
        scheduler from a hierarchical class-based priority processor module 1574, a virtual
        private network (VPN) directory enabled (DEN) data table 1572, and a service level
        agreement (SLA) priority data table 1570.

 ’971 Patent at 63:47–56 (emphasis added); see also id. at 53:49–57, 66:57–63.

        This disclosure links the claimed function to the structure of SLA priority data table 1570.

 No additional structure is necessary for performing the claimed function (other than the agreed-

 upon “downlink scheduler 604/1566 or uplink scheduler 634/1666”). See Northrup Grumman,

 325 F.3d at 1352 (“A court may not import into the claim features that are unnecessary to perform

 the claimed function.”). The disclosures cited by Defendants do not demonstrate that “an

 algorithm that increases or decreases queuing priority of an IP flow” is necessary for performing

 the claimed function of merely “taking into account” SLA priorities.




                                                   34
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 37 of 45 PageID #: 8641



        The Court therefore hereby finds that “means for taking into account service level

 agreement (SLA) based priorities for said IP flow” is a means-plus-function term, the claimed

 function is “taking into account service level agreement (SLA) based priorities for said IP

 flow,” and the corresponding structure is “downlink scheduler 604/1566 or uplink scheduler

 634/1666, and service level agreement (SLA) priority data table 1570; and equivalents

 thereof.”

 J. “the analyzed contents” and “the analyzed packet contents”

  Plaintiff’s Proposed Construction               Defendants’ Proposed Construction

  Plain meaning, “the portion of the packets “analyzed contents of the packets to be
  previously analyzed”                       communicated over the shared wireless
                                             bandwidth in the downlink direction”

 (Dkt. No. 110, Ex. B at 12; Dkt. No. 111 at 21; Dkt. No. 118 at 23; Dkt. No. 128-1 at 18–20.) The

 parties submit that these terms appear in Claims 1 and 12 of the ’517 Patent. (Dkt. No. 110, Ex.

 B at 12.)

        (1) The Parties’ Positions

        Plaintiff argues that “Defendants’ proposed construction is unhelpful and it offers nothing

 beyond a repetition of the claim language.” (Dkt. No. 111 at 22.)

        Defendants respond that “[t]he issue regarding these terms is antecedent basis,” and “the

 phrases ‘the analyzed contents’ and ‘the analyzed packet contents’ refer to the same contents of

 the same packets that previously were analyzed.” (Dkt. No. 118 at 23.)

        Plaintiff replies, as to the phrase “to be communicated over the shared wireless bandwidth

 in the downlink direction” proposed by Defendants, that “[t]hese words appear elsewhere in the

 claims, and Defendants do not explain why repeating the words is necessary.” (Dkt. No. 126 at

 10.)



                                                35
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 38 of 45 PageID #: 8642



        (2) Analysis

        Claim 1 of the ’517 Patent, for example, recites (emphasis added):

        1. A method for allocating a shared wireless bandwidth in a packet-centric wireless
        point to multi-point telecommunications system, the method comprising:
                analyzing contents of packets to be communicated over the shared wireless
        bandwidth in a downlink direction from a wireless base station to at least one
        customer premises equipment (CPE) station;
                analyzing reservation requests for packets to be communicated in the
        u[p]link direction from the at least one CPE station to the wireless base station,
        wherein each reservation request comprises a subscriber identifier and at least one
        other subscriber attribute, wherein the analyzing includes processing the subscriber
        identifier and the at least one other subscriber attribute to schedule packets in the
        uplink direction; and
                allocating the shared wireless bandwidth between the wireless base station
        transmitting in the downlink direction and the at least one CPE station transmitting
        in the uplink direction based on the analyzed contents and the analyzed reservation
        requests, wherein allocating the shared bandwidth comprises:
                    assigning slots in a frame to the at least one CPE station; and
                    communicating the assigned slots to the at least one CPE station
                        in a reservation request acknowledgement section of a
                        frame.

        Claim 12 of the ’517 Patent is similar in relevant part except that it recites “the analyzed

 packet contents” rather than “the analyzed contents” (emphasis added):

        12. A wireless base station comprising:
                a first interface configured to couple to a wired data network;
                a second interface configured to communicate on a wireless network; and
                a controller coupled to the first interface and the second interface, wherein
        the controller is configured to receive reservation requests from one or more
        customer premises equipment (CPE) stations via the second interface, wherein each
        reservation request corresponds to a packet to be transmitted in an uplink direction
        from the at least one CPE station to the wireless base station, and wherein each
        reservation request comprises a subscriber identifier and at least one other
        subscriber attribute, and wherein the controller is configured to receive packets
        from the wired data network via the first interface to be communicated in a
        downlink direction from the wireless base station to the at least one CPE station,
        and wherein the controller is configured to analyze contents of the packets received
        from the first interface and to analyze the reservation requests, and wherein the
        controller is configured to allocate wireless bandwidth between the uplink direction
        and the downlink direction responsive to the analyzed packet contents and the
        analyzed reservation requests, and wherein the controller is configured to allocate
        slots in a frame to the reservation requests responsive to the allocated bandwidth,

                                                 36
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 39 of 45 PageID #: 8643



        and wherein the controller is configured to communicate the allocated slots in a
        reservation request acknowledgement section of a frame.

        The antecedent basis for the disputed terms is clear on the face of these claims. Although

 the parties appear to be largely in agreement, construction is appropriate to ensure that any

 remaining dispute is fully resolved as well as to prevent confusion. In particular, the recital of an

 intervening “analyzing . . .” step in Claim 1 and an intervening “analyze” limitation in Claim 12

 (reproduced above) might give rise to confusion as to the proper antecedent basis. The Court

 accordingly hereby construes these disputed terms as set forth in the following chart:

                       Term                                          Construction

  “the analyzed contents”                           This term refers back to the limitation of
                                                    “analyzing contents of packets to be
  (’517 Patent, Claim 1)                            communicated over the shared wireless
                                                    bandwidth in a downlink direction from a
                                                    wireless base station to at least one customer
                                                    premises equipment (CPE) station”

  “the analyzed packets contents”                   This term refers back to the limitation of
                                                    “analyze contents of the packets received
  (’517 Patent, Claim 12)                           from the first interface.”




                                                  37
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 40 of 45 PageID #: 8644



 K. “allocating the shared wireless bandwidth between the wireless base station transmitting
 in the downlink direction and the at least one CPE station transmitting in the uplink
 direction” and “allocate wireless bandwidth between the uplink direction and the downlink
 direction responsive to the analyzed packet contents and the analyzed reservation requests”


  “allocating the shared wireless bandwidth between the wireless base station transmitting
    in the downlink direction and the at least one CPE station transmitting in the uplink
                                          direction”
                                    (’517 Patent, Claim 1)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Plain meaning, no construction necessary.        “allocating the shared wireless bandwidth
                                                   between (1) the wireless base station
                                                   transmitting in the downlink direction and
                                                   (2) the at least one CPE station transmitting in
                                                   the uplink direction”


    “allocate wireless bandwidth between the uplink direction and the downlink direction
      responsive to the analyzed packet contents and the analyzed reservation requests”
                                    (’517 Patent, Claim 12)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Plain meaning, no construction necessary.        “allocate wireless bandwidth between (1) the
                                                   uplink direction and (2) the downlink direction
                                                   responsive to the analyzed packet contents and
                                                   the analyzed reservation requests”


 (Dkt. No. 110, Ex. B at 13–14; Dkt. No. 111 at 23; Dkt. No. 118 at 25; Dkt. No. 128-1 at 21–23.)

        (1) The Parties’ Positions

        Plaintiff argues: “Defendants’ proposal is not a construction at all, but rather an edited

 version of the claim language. Defendants have simply inserted ‘(1)’ and ‘(2)’ into the claim

 terms. These notational edits do nothing to assist the jury in understanding what is covered by the

 claims.” (Dkt. No. 111 at 23.)




                                                 38
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 41 of 45 PageID #: 8645



        Defendants respond that “[c]onstruction of this term is necessary because IV’s unstated

 ‘plain meaning’ of this language—as evidenced in its infringement contentions—improperly seeks

 to read the term ‘between’ out of the claim.” (Dkt. No. 118 at 25.)

        Plaintiff replies that “[t]here is a disconnect in Defendants’ position because the notations

 ‘(1)’ and ‘(2)’ do not convey the complex limitations outlined in Defendants’ brief.” (Dkt. No. 126

 at 10–11.)

        (2) Analysis

        Plaintiff’s reply brief expresses concern that Defendants are arguing that the allocating

 must be done “dynamically” (see Dkt. No. 126 at 11), but no such proposal is apparent in

 Defendants’ proposed construction or in Defendants’ responsive claim construction brief. (See

 Dkt. No. 118 at 25–28.) Likewise, Plaintiff argues that Defendants have not justified requiring

 “‘variable length’ subframes” (see Dkt. No. 126 at 11), but Defendants do not appear to have

 proposed any “subframes.” Similarly, Plaintiff has not shown how Defendants’ proposal would

 “preclude coverage of allocating bandwidth ‘between’ multiple CPE stations.” (Id. at 12.)

        Rather than having presented any apparent claim construction dispute, the parties are

 disputing whether Plaintiff’s infringement contentions have properly applied the claim language.

 This dispute relates to factual questions of infringement rather than any legal question for claim

 construction. See PPG Indus. v. Guardian Indus. Corp., 156 F.3d 1351, 1355 (Fed. Cir. 1998)

 (“after the court has defined the claim with whatever specificity and precision is warranted by the

 language of the claim and the evidence bearing on the proper construction, the task of determining

 whether the construed claim reads on the accused product is for the finder of fact”); see also Eon

 Corp. IP Holdings LLC v. Silver Spring Networks, Inc., 815 F.3d 1314, 1318–19 (Fed. Cir. 2016)

 (citing PPG).



                                                 39
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 42 of 45 PageID #: 8646



        The Court therefore hereby construes “allocating the shared wireless bandwidth

 between the wireless base station transmitting in the downlink direction and the at least one

 CPE station transmitting in the uplink direction” and “allocate wireless bandwidth between

 the uplink direction and the downlink direction responsive to the analyzed packet contents

 and the analyzed reservation requests” to have their plain meaning.

 L. “said plurality of packets”

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Plain meaning, said two or more packets          “the plurality of packets” that are scheduled for
                                                   communication over a shared wireless
                                                   bandwidth are the same plurality of packets
                                                   that are classified

                                                   Or, alternatively:
                                                       “the same plurality of packets that are
                                                   classified”13

 (Dkt. No. 110, Ex. B at 14; Dkt. No. 111 at 24; Dkt. No. 118 at 28; Dkt. No. 128-1 at 9.) The

 parties submit that this term appears in Claim 109 of the ’206 Patent. (Dkt. No. 110, Ex. B at 14.)

        (1) The Parties’ Positions

        Plaintiff argues: “Defendants’ construction rewrites the claim. A plurality of packets is

 first classified and then scheduled. Defendants’ construction requires an additional step: that the

 plurality of packets must also be actually communicated (i.e., transmitted and/or received).” (Dkt.

 No. 111 at 25.)

        Defendants respond that “IV’s proposed construction (that ‘plurality’ refers to ‘two or

 more’) does not address the parties’ actual dispute,” which is “whether the ‘said plurality of



 13
   Defendants previously proposed: “‘the plurality of packets’ that are communicated over a shared
 wireless bandwidth are the same plurality of packets that are classified.” (Dkt. No. 110, Ex. B at
 14.)

                                                 40
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 43 of 45 PageID #: 8647



 packets’ are the same plurality of packets referred to throughout the claim.” (Dkt. No. 118 at 28.)

 Defendants urge that “the plain language of the claim supports a finding that the plurality of

 packets that are scheduled for communication over a shared wireless channel are the same plurality

 of packets that are classified.” (Id. at 29.)

         Plaintiff replies that “IV’s construction explicitly includes the word ‘said,’ and Defendants’

 criticisms on that point are misplaced.” (Dkt. No. 126 at 12.)

         (2) Analysis

         Claim 109 of the ’206 Patent recites (emphasis added):

         109. A method for scheduling packets comprising:
                classifying a plurality of packets according to end-user quality of service
         (QoS) requirements of said plurality of packets; and
                scheduling said plurality of packets for communication in at least one of an
         upstream direction and a downstream direction over a shared wireless bandwidth
         according to a scheduling algorithm.

         The claim thus requires that the packets that are scheduled are the same packets that are

 classified. See Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d 1283, 1291 (Fed. Cir. 2015)

 (regarding “said one or more pre-processing parameters,” finding that “[t]he use of the term ‘said’

 indicates that this portion of the claim limitation is a reference back to the previously claimed ‘pre-

 processing parameters’”); see also In re Varma, 816 F.3d 1352, 1363 (Fed. Cir. 2016) (“For a dog

 owner to have ‘a dog that rolls over and fetches sticks,’ it does not suffice that he have two dogs,

 each able to perform just one of the tasks.”); Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1342

 (Fed. Cir. 2016) (regarding “a logical table,” finding that the limitations at issue were required to

 be “in the same logical table”).

         The Court therefore hereby finds as follows regarding the term “said plurality of packets”:

 Both instances of “said plurality of packets” in Claim 109 of the ’206 Patent refer back to

 the same “plurality of packets” recited in the phrase “classifying a plurality of packets.”

                                                   41
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 44 of 45 PageID #: 8648



 V. CONCLUSION

         The Court ADOPTS and ORDERS the constructions set forth in this opinion for the

 disputed terms of the patent-in-suit, and in reaching conclusions the Court has considered extrinsic

 evidence. The Court’s constructions thus include subsidiary findings of fact based upon the

 extrinsic evidence presented by the parties in these claim construction proceedings. See Teva, 135

 S. Ct. at 841.

         The parties are ORDERED that they may not refer, directly or indirectly, to each other’s

 claim construction positions in the presence of the jury. Likewise, the parties are ordered to refrain

 from mentioning any portion of this opinion, other than the actual definitions adopted by the Court,

 in the presence of the jury. Any reference to claim construction proceedings is limited to informing

 the jury of the definitions adopted by the Court.

         Within thirty (30) days of the issuance of this Memorandum Opinion and Order, the parties

 are hereby ORDERED, in good faith, to mediate this case with the mediator agreed upon by the

 parties. As a part of such mediation, each party shall appear by counsel (with lead and local counsel

 present and participating) and by at least one corporate officer possessing sufficient authority and

 control to unilaterally make binding decisions for the corporation adequate to address any good

 faith offer or counteroffer of settlement that might arise during such mediation. Failure to do so

 shall be deemed by the Court as a failure to mediate in good faith and may subject that party to

 such sanctions as the Court deems appropriate. No participant shall leave the mediation without

 the approval of the mediator.




                                                  42
Case 2:17-cv-00577-JRG Document 197 Filed 11/06/18 Page 45 of 45 PageID #: 8649




      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 6th day of November, 2018.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE




                                      43
